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            Exhibit 4
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                                                                             Page 1
 1

 2   UNITED STATES DISTRICT COURT
 3   SOUTHERN DISTRICT OF NEW YORK
 4

 5

 6   ------------------------------------------x
 7   STEVEN E. GREER, M.D.,
 8                                            Plaintiff,
 9                       vs.
10   DENNIS MEHIEL, et al.,
11                                            Defendants.
12   ------------------------------------------x
13

14

15

16            DEPOSITION OF DENNIS MEHIEL
17                   New York, New York
18                Monday, April 3, 2017
19

20

21

22

23

24   Reported by:       David Henry
25   JOB NO. 122008

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                                                                             Page 2
 1

 2

 3

 4                         April 3, 2017
 5                         2:50 p.m.
 6

 7

 8        Deposition of DENNIS MEHIEL, held
 9   at the Federal Courthouse, 500 Pearl
10   Street, New York, New York, pursuant to
11   Notice, before David Henry, a Certified
12   Court Reporter and Notary Public of the
13   State of New York.
14

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                                                                             Page 3
 1

 2   A P P E A R A N C E S:
 3

 4        The Plaintiff Steven Greer, M.D.
 5        appeared pro se
 6

 7        SHER TREMONTE
 8        Attorneys for Defendant Battery Park
 9        City Authority
10               90 Broad Street
11               New York, New York 10004
12        BY:    MICHAEL TREMONTE, ESQ.
13        AND: MICHAEL GIBALDI, ESQ.
14

15        ROSENBERG & ESTIS
16        Attorneys for all Defendants other
17        than Battery Park City Authority and
18        Defendant Serpico
19               733 Third Avenue
20               New York, New York 10017
21        BY:    DEBORAH RIEGEL, ESQ.
22

23   ALSO PRESENT:
24        ABBY GOLDENBERG, ESQ.
25        Battery Park City Authority

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                                                                          Page 23
 1                         Mehiel
 2        A.     No.    I don't read the
 3   BatteryPark.TV.
 4               MR. TREMONTE:                Focus on the
 5        question.
 6        Q.     Were you aware -- and I just have
 7   one or two more, so relax.                I just have to
 8   be thorough.      I've got to go down all of
 9   them.
10               Were you aware of my articles in
11   BatteryPark.TV that reported on conflicts
12   of interest between Governor Cuomo and IGY
13   Marina?    And you know what IGY Marina is.
14               MR. TREMONTE:                Objection.           Were
15        you aware?
16        A.     No.    I need to correct my answer
17   ever so slightly, okay?              And I'm going to
18   say this in response to this entire series
19   of questions.      From time to time someone on
20   my staff would send me an email, yack yack.
21   I'm going to tell you that 99.9 percent of
22   the time I do not open the attachment, I do
23   not read it, I have no interest in it.                         So
24   I'm not suggesting by my answers these
25   things didn't occur, I'm simply stating my

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                                                                        Page 29
 1                         Mehiel
 2        Q.     Okay, very good.              That's what I'm
 3   getting to.
 4               MR. TREMONTE:                Objection.
 5        That's not a question.
 6        A.     By the way, I can't remember
 7   whether that discussion was with staff or
 8   with the members.         But I know that we had
 9   those conversations because --
10        Q.     And what would be the reason --
11               MR. TREMONTE:                Excuse me, let
12        the witness finish.
13        Q.     And what would be the reason for
14   barring me from a public meeting?
15        A.     Your behavior during the public
16   meeting.
17        Q.     Such as?
18        A.     Such as refusing to leave the
19   room when we went to executive session and
20   having our chief of staff tell you that he
21   was going to have to call security to evict
22   you if you didn't leave.
23        Q.     Okay, was that a public meeting?
24        A.     It was public until it was
25   executive session, which is non-public.

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                                                                        Page 32
 1                          Mehiel
 2   and forth from Sherry Hyman to Alex
 3   Pastilonik to Karen McCabe discussing how
 4   the BPCA would go about not allowing me in
 5   to board meetings by, for example, alerting
 6   Brookfield Security?            Are you aware of many
 7   e-mails back and forth among staff planning
 8   and preparing for the next meeting to not
 9   allow me in?
10               MR. TREMONTE:                 Objection.
11        A.     No.
12        Q.     Okay.      Some of those emails might
13   have had your name on it, you're not aware?
14               MR. TREMONTE:                 Objection, asked
15        and answered.
16        Q.     Okay, did you or anyone you know
17   of at the BPCA alert Brookfield Properties
18   or the NYPD warning them that Steven Greer,
19   however you referred to me, was basically a
20   scary threat that shouldn't be let in for
21   security purposes?
22               MR. TREMONTE:                 Objection.
23        A.     Repeat the question.
24        Q.     Did you or anyone at the BPCA
25   that you are aware of notify Brookfield

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                                                                        Page 33
 1                          Mehiel
 2   Property National Security staff, the
 3   people who were in your offices, or even
 4   the New York Police Department warning them
 5   that I, Steven Greer, am a threat that
 6   should not be allowed into the board
 7   meetings?
 8               MR. TREMONTE:                 Objection.
 9        A.     I instructed the chief of staff
10   to engage Brookfield Security when we had
11   public meetings to be certain that you
12   didn't enter the premises, at least not up
13   to the 24th floor.
14        Q.     Okay.      Did you also -- now we're
15   talking about the meeting of June 8, 2016.
16   That's where I attended.                Do you recall
17   that?
18               MR. TREMONTE:                 Objection.
19        A.     June of 2016?             A public meeting
20   you came to, is that the one where Kevin
21   asked you to leave?
22        Q.     No, no, this would be --
23        A.     Because that's like a year later.
24        Q.     Yeah, no, this would be the first
25   meeting that I had attended for more than a

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                                                                        Page 38
 1                         Mehiel
 2        A.     I don't remember whether we had
 3   it then.    I will concur that it was
 4   crowded.
 5        Q.     And then subsequent to that when
 6   there were no crowds for other board
 7   meetings, that's when I was given the
 8   excuse that I couldn't enter, but you're
 9   welcome to watch it on a video overflow
10   room down on West Thames.                Are you aware of
11   that?
12               MR. TREMONTE:                Objection.
13        A.     I am aware that I barred you from
14   the meetings during that period.                      I'm not
15   sure it had anything to do with crowds.
16        Q.     Okay, alright.             During board
17   meetings, it's -- either your previous law
18   firm or -- it's been discussed in briefs
19   that the BPCA board meetings officially are
20   not venues for taking questions from the
21   public or the press.           Is that a fair
22   characterization?         Is that fair?               Is that
23   accurate?
24               MR. TREMONTE:                Objection.
25        A.     We don't engage in public

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                                                                           Page 39
 1                          Mehiel
 2   dialogue during the public meetings.                           When
 3   you say public dialogue, I mean, we do not
 4   exchange -- we don't involve ourselves in
 5   exchanges with, if you will, non-members
 6   and non-staff during those meetings.                           We
 7   now allow public comment, but we don't
 8   respond to it.
 9         Q.     So even now, even with the public
10   comment sessions now, the BPCA is not
11   officially fielding questions, is that
12   correct?
13                MR. TREMONTE:                Objection.
14         A.     That is correct.
15         Q.     Have you ever fielded, answered
16   questions from the press or others during
17   board meetings in 2014, 2015?
18                MR. TREMONTE:                Objection.
19         A.     On occasion after a meeting is
20   over, a reporter has asked me a question or
21   two and I've answered it.                 It's not common,
22   but it happens, and when it does I try to
23   respond.
24         Q.     After President Boutris left,
25   it's the February 22, 2014 board meeting,

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                                                                         Page 44
 1                          Mehiel
 2                MR. TREMONTE:                Objection.
 3         A.     Not to my knowledge.
 4         Q.     If you wanted to, is there any
 5   structure, law, regulation, in the bylaws
 6   of the creation of the BPCA, do you have
 7   any power to make a difference in the lease
 8   agreement between a renter and a company
 9   owner like Howard Milstein, could you as
10   the BPCA bypass someone like Howard
11   Milstein's organization and directly impact
12   whether a lease is renewed or not renewed?
13                MR. TREMONTE:                Objection.
14         A.     If I understand the question --
15                MR. TREMONTE:                If you don't
16         understand the question, ask him to
17         ask it again.
18         A.     No, because I want to put it in
19   my language and see if I'm answering the
20   right question, okay?
21                You're asking me if our ground
22   lease arrangements with an owner and
23   operator of a rental property would allow
24   us to direct or otherwise substantially
25   influence their individual renter tenant

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                                                                         Page 45
 1                           Mehiel
 2   decisions.
 3         Q.     Correct.
 4         A.     I mean, to my knowledge
 5   absolutely not.         You know, these ground
 6   leases are this thick.               As far as I know,
 7   the answer is no.
 8         Q.     Very good.          And I've just got to
 9   ask the obvious one.             To your knowledge,
10   did Robert Serpico or Sherry Hyman or
11   anyone collude, I think is the best word,
12   organize, work with, Steve Rossi or anyone
13   in the real estate companies of Howard
14   Milstein?     Did anyone from the Battery Park
15   City Authority work with Steve Rossi or any
16   other executive of Howard Milstein's group
17   to have my personal lease at 200 Rector
18   Place not renewed?
19                MR. TREMONTE:                 Objection.
20         A.     Not to my knowledge.
21         Q.     While we're on it, do you know
22   how Howard Milstein?
23         A.     I do.
24         Q.     And does someone like Howard
25   Milstein or LeFrak, a large real estate

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